               Case 2:16-cr-00067-JAM Document 171 Filed 03/01/19 Page 1 of 2

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 7 United States of America

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-0067 JAM

12                                 Plaintiff,
                                                         STIPULATION AND ORDER
13                           v.                          CONTINUING SENTENCING OF DEFENDANT
                                                         NOE BAEZA-BRAVO
14   NOE BAEZA BRAVO,

15                                Defendant.

16
             It is hereby agreed between counsel for the parties that the Sentencing in the above matter be
17
     continued from March 5, 2019 to March 12, 2019 at 9:15 a.m. Additional time is needed for the
18

19 government to respond to the defendant’s objections to the Presentence Report.

20

21    Dated: February 27, 2019                               MCGREGOR W. SCOTT
                                                             United States Attorney
22

23                                                     By: /s/ Richard J. Bender
                                                           RICHARD J. BENDER
24                                                         Assistant United States Attorney

25
     Dated: February 27, 2019                             /s/ Dina Santos by RJB
26                                                        DINA SANTOS
                                                          Attorney for Noe Baeza Bravo
27 //

28 //


        STIPULATION CONTINUING SENTENCING                1
              Case 2:16-cr-00067-JAM Document 171 Filed 03/01/19 Page 2 of 2

 1 [Stipulation Continuing Sentencing, page two]

 2
     It is so ORDERED,
 3
     This 28th day of February, 2019                       /s/ John A. Mendez_____
 4
                                                           JOHN A. MENDEZ
 5                                                         U.S. District Court Judge

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      STIPULATION CONTINUING SENTENCING            2
